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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ALVIN D. HARVEY,

                       Plaintiff,

  v.                                             Case No. 3:18-CV-2153-NJR-GCS

  DOMINO’S PIZZA LLC,
  TIMOTHY A. BEIERMANN, and
  RYDER TRUCK RENTAL,

                       Defendants.

                        JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order of May 28,

 2019 (Doc. 38), reflecting settlement between the parties, this entire action is DISMISSED

 with prejudice.

       DATED: July 31, 2019

                                                 MARGARET M. ROBERTIE,
                                                 Clerk of Court

                                                 By: s/ Deana Brinkley
                                                        Deputy Clerk

 APPROVED: s/ Nancy J. Rosenstengel
           NANCY J. ROSENSTENGEL
           Chief U.S. District Judge
